                Case: 1:17-cv-06362
ILND 450 (Rev. l0/13) Judgment in a Civil Action
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                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OT' ILINOIS

Belia Cadiz,

Plaintif(s),
                                                                    Case   No.   17 C 6362
                                                                    Judge Charles R. Norgle

Educational Credit Management Corporation,

Defendant(s).

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

          t]        in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $      ,


                              which I includes pre-judgment interest.
                                    ! does not include pre-judgment interest.
         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintif(s) shall recover costs from defendant(s).


          tr        in favor of defendant(s)
                    and against plaintiff(s)

         Defendant(s) shall recover costs from plaintif(s).



         X         other:judgment is entered in favor of defendant and against plaintiff BeliaCadiz

This action was (check one):

! tried by a jury with Judge presiding, and the jury has rendered a verdict.
E tried by Judge without a jury and the above decision was reached.
X decided by Judge Charles Norgle on a motion for summary judgment.

Date: 2l2l/2019                                                 Thomas G. Bruton, Clerk of Court

                                                              -Eric Fulbright, Deputy Clerk\
